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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF RHODE ISLAND


 UNITED STATES OF AMERICA


              v.                              Criminal No.1:24-MJ-097 PAS


 ANDREW URBANO PEREZ,
           Defendant.




                    ASSENTED MOTION TO CONTINUE AND
                TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT


      The United States Attorney for the District of Rhode Island, through undersigned

counsel, moves the Court to continue the time for bringing an information or

indictment for a period of 60 days from the operation of the time limit imposed by the

Speedy Trial Act. Defendant’s counsel does not object to this motion. In support of this

motion, the United States represents that counsel for the United States and the

defendant are engaged in pre-Indictment negotiations. Additional time will allow the

parties to possibly resolve the matter pre-Indictment which may also render trial in this

matter unnecessary, thus potentially conserving judicial resources.

      Accordingly, the United States respectfully requests that the case be continued

for 60 days from January 15, 2025 to March 16, 2025 and that this time period be

excluded in computing time under the Speedy Trial Act.
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      Based on the above, the United States avers that pursuant to 18 U.S.C. § 3161(h),

the ends of justice served by granting the continuance outweigh the interests of the

public and the defendant in a speedy trial.

                                                Respectfully submitted,

                                                UNITED STATES OF AMERICA
                                                By its Attorney,

                                                ZACHARY A. CUNHA
                                                United States Attorney

                                                /s/Peter Roklan
                                                PETER ROKLAN
                                                Assistant U.S. Attorney
                                                One Financial Plaza, 17th Floor
                                                Providence, RI 02903
                                                Tel: 401-709-5000
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                            CERTIFICATION OF SERVICE

                On this 13th day of January, 2025, I caused the within Assented Motion to
Continue and to Exclude Time Under the Speedy Trial Act to be filed electronically and
it is available for viewing and downloading from the ECF system.




                                                /s/Peter Roklan
                                                PETER ROKLAN
                                                Assistant U.S. Attorney
                                                One Financial Plaza, 17th Floor
                                                Providence, RI 02903
                                                Tel: 401-709-5000
